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          A 0 199A (Rev. 31871 Order Selling Candirions of Release
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                     UNITED STATES OF AMERICA

                                                                                     ORDER SETTING CONDITIONS
                                                                                            OF RELEASE

                                                                                 Case Number:

                                   Defendant


                   IT IS ORDERED that the release of the defendant is subject to the following conditions:

                     (1) The defendant shall not commit any offense in violation of federal, state or local law while on release ill this
                          case.

                     (2) The defendant shall immediately advise the court. defense counsel and the U.S. attorney in writing of any
                         change in address and telephone number.

                     (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

                         imposed as directed. The defendant shall next appear at (if blank, to be notified)         us bs7++I&+-         IL



                                                                                            Date and

                                                                                                                          $.dFZkL:
                                         Release on Personal Recognizance or Unsecured Bond
                   IT IS FURTHER ORDERED that the defendant be released provided that:

          ( /)      (4) The defendant pronlises to apwar at all proceedings as required and to surrender for service of any sentence
                         imposed.

          (        ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                    dollars ($                          1
                         in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




W H I T E COPY - COURT         YELLOW - DEFENDANT                B L U E . U.S. ATTORNEY   P I N K - U.S. M A R S H A L    GREEN - PRETRIAL SERVICES
              Case 1:06-cr-00202-AWI Document 19 Filed 09/29/06 Page 2 of 3
CONLEY, Passion         ADDITIONAL CONDITIONS OF RELEASE
06-0205 AWI
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                U p o n finding t h a t release b y o n e o f t h e a b o v e m e t h o d s will n o t b y itself r e a s o n a b l y assure t h e a p p e a r a n c e o f t h e d e f e n d a n t
a n d t h e s a f e t y o f o t h e r p e r s o n s a n d t h e c o m m u n i t y , it is F U R T H E R O R D E R E D t h a t t h e release o f t h e d e f e n d a n t is s u b j e c t to t h e
c o n d i t i o n s m a r k e d below:

(X)         (6)          T h e d e f e n d a n t is placed i n t h e c u s t o d y of:

                         N a m e o f p e r s o n or o r g a n i z a t i o n P a t r i c i a C o n l e y

w h o agrees (a) to s u p e r v i s e t h e d e f e n d a n t in a c c o r d a n c e w i t h a l l c o n d i t i o n s o f release,
(b) to use e v e r y e f f o r t to a s s u r e t h e a p p e a r a n c e o f t h e d e f e n d a n t at a l l scheduled court proceedings, a n d (c) to notify t h e c o u r t
i m m e d i a t e l y in t h e e v e n t th_e d e f e n d a n t violates any c o n d i t i o n s o f release or d i s a p p e a r s .




(X)         (7)          The defendant shall:
            (x)          (a)      maintain or actively seek emplovment. or an educational propram, and provide proof thereofto the PSO upon request.
            (. ,l        ..
                         (bl      maintain or eommence an educational nroeram.
                                                                            ~=         ~   ~

                                                                                                    ~




            (XI          (c)      ahtde b\ tnc tbllow~nercslrict~onson nis personal associntions. place of ahode. or travel
                                  Keclde at a residence amroved b, I'rrtrlal Services. and not moic or be absent from t h ~ srec~dencefor more tnan 24 hrs.
                                  without prior approval of PSO; travel restricted to the Eastern District ofCalifornia unless otherwise aporoved in advance

                                       avoid all contaet with the following named persons, who are considered either alleged victims or potential witnesses:
                                         unless in the presence of counsel or otherwise approved in advance by the PSO.
                                       renon on a reeulnr ba..~. to tnc follon~naacrnc\
                                       I'relnal Servlces and c o m ~ l \wsth thclr rulc* and rrwuldl~on,
                                       remain in the residence a ~ o r o v e dby Pretrial Services between the hours of 9:00 p.m. and 6:00 a.m.. unless absence is
                                       aooroved by the Pretrial Services Offieer.
                                       refrain from oossessine a f i r e m . destructive deviee, or other dangerous weapon.
                                                                                                                                                       -
                                       refrain from excessiveuseofalcohol. and anv useor unlawful oossessionof anarcoticdrueand other controlled substances
                                       defined in 21 USC $802 unless preseribed by a licensed medical practitioner.
                                       undergo medieal or psychiatrie treament andior remain in an institution, as follows: Including treatment for drug andfor
                                       alcohol dependency, and pay for cosrs as approved by the PSO.
                                       execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of release, the
                                       following sum of money or designated property:
                                       post with the court the following indicia or ownership of the above-described property, or the following amount or
                                       percentage of the above-described money:
                                       execute a bail bond with solvent sureties in the amount of $
                                       return to eustody each (week)day as of o'clock after being released each (week)day as o f o'elock for employment,
                                       schooling, or the following limited purpose(s):
                                       surrender any passport to the Clerk, United States Distriet Court.
                                                    .   . durine" the .oendencv of this ease.
                                       obtain no oassoort
                                       repon In person lo tnc Pretrla. Scnicei A a e n o on the first norkine da, follow.ny your release from custod~
                                       5uomit to drug s n d u r alcuhul lest:ng ar directed b) I'SO.
                                      report any prescriptions to PSO within 48 hours of receipt.
                                      participate in oneofthe following homeconfinementprogram componenrs and abide by all therequirementsof the program
                                      which ( ) will or ( ) will not include electronic monitoring or other location verification system.
                                      ( ) (i) Curfew. You are restrieted to your residence every day ( ) from                          to                 , Or
                                                    ( ) as directed by the Pretrial Services office or supervising officer: or
                                      ( ) (ii) Home Detention. You are restrieted to your residence at all times except for employnent; education;
                                                    religious services; or mental health trcatment; attorney visits; court appearances; court-ordered obligations;
                                                    or other aetivities as pre-approved by the Pretrial Services office or supervising ofieer; or
                                                                                   ~           ~~




                                      ( ) (iii) Home Incarceration. You are restricted to your residencc at all timesexcept Tor medical needs or treatment,
                                                   religious services, and court appearances pre-approved by the Pretrial Services office or supervision officer.




(Copies to: Defendanl, US Attorney, US Marshal, Pretrial Services)
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    k (Re,..
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             ~ Advice
                 i Case
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                      ?[Penalties ...           Document 19 Filed 09/29/06 Page 3 of 3
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                                                     Advice of Penalties and Sanctions
    *
     TO THE DEFENDANT:

          YOU ARE ADVISED O F THE FOLLOWING PENALTIES AND SANCTIONS:

          A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest.
     a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment.
     a fine. or both.
          The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
     not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a mis-
     demeanor. This sentence shall be i n addition to any other sentence.
          Federal law makes it a crime ounishable bv. UD to 10 vears of imnrisonment. and a $250.000 fine or both to obstruct a criminal
                                                          A


     investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, vic-
     tim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a
     witness, victim, juror, informant, or officer of the coult. The penalties for tampering, retaliation, or intimidation are significantly
     more serious if they invoIve a killing or attempted killing.
          If atier release, you knowingly fail to appear as required by the conditions of release, or to sumender for the service of sentence,
     you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          ( 1 ) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
                not more than $250,000 or imprisoned for not more than 10 years. or both;
          (2) an offense punishable by imprisonment for a term of five y e m or more, but less than fifteen years, you shall be fined not
                more than $250,000 or imprisoned for not more than five years, or both;
          (3) any other felony, you shall be tined not more than $250,000 or imprisoned not more than two years, or both,
          (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
          A term of imprisonment imposed for failure to appear or surrender shall he in addition to the sentence for any other offense.
     In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                         Acknowledgement of Defendant
          I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all condi-
     tions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions
     set folth above.



                                                                                                                                          I
                                                                                                      Sirnature of Defendant




                                                                                                    '\
                                                                                        City and State                              Telephone




        /                                        Directions to United States Marshal
(   4 The defendant is ORDERED released after processing.
(       ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
          defendant has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the




    WHITE COPY - C O U ~        YELLOW- DEFENDANT                 BLUE - U.S,ATTORNEY         PINK- U S . MARSHAL         GREEN - PRETRIAL SERVICES
